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STRAFFI & STRAFFI, LLC
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Toms River, NJ 08755
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(732) 341-3548 (fax)
bkclient@straffilaw.com
Attorney for Debtor(s)


In re:                              )          UNITED STATES BANKRUPTCY COURT
                                    )          FOR THE DISTRICT OF NEW JERSEY
                                    )
                                    )          Chapter 13 proceeding
      Trautweiler, Craig            )          Case No. 18-31573/KCF
      Trautweiler, Shawn            )
                                    )          NOTICE OF MOTION FOR ORDER
                                    )          AUTHORIZING LOAN MODIFICATION
            Debtor(s),              )          AGREEMENT
                                    )
                                    )          Hearing Date: June 12, 2019 @ 9:00 am
____________________________________)          ORAL ARGUMENT WAIVED

To:            All parties on mailing list annexed hereto.




             PLEASE TAKE NOTICE that Debtors, Craig Trautweiler and Shawn Trautweiler,

shall move before the Honorable Kathryn C. Ferguson, United States Bankruptcy Court, 402

East State Street, Trenton, New Jersey, on June 12, 2019 at 9:00 a.m. or at such sooner time as

the Court may direct, for the entry of an Order authorizing Loan Modification of debtors’ real

property located at 604 Princeton Avenue, Brick, New Jersey 08724.

               PLEASE TAKE FURTHER NOTICE that the movant shall rely upon the

attached Certification. No brief is submitted since no unique question of law exists;

               PLEASE TAKE FURTHER NOTICE that if any party in interest objects to his

Motion, a written objection must be filed with the Clerk of the United States Bankruptcy Court,

United States Courthouse, 402 East State Street, Trenton, New Jersey 08608-1568, with a copy
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of any such objection to be served on the undersigned. All such objections must be filed not later

than seven (7) days before the above hearing date or such other time as the Court may direct; and

               PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

enclosed.


                                                    /s/ Daniel E. Straffi, Jr.
Dated: May 9, 2019                                  ______________
                                                    Daniel E. Straffi, Jr.
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                                  MAILING LIST

                                 US Trustee’s Office
                                 One Newark Street
                                     Suite 2100
                                 Newark, NJ 07102

                                    Albert Russo
                             Standing Chapter 13 Trustee
                                      CN 4853
                               Trenton, NJ 08650-4853
                                 (Chapter 13 Trustee)

                             Craig & Shawn Trautweiler
                               604 Princeton Avenue
                                  Brick, NJ 08724
                                      (Debtors)

                                Wells Fargo Bank, NA
                               1000 Blue Gentian Road
                              Suite 300 MAC X9999-01N
                                   Eagan, MN 55121
                    Attention: Officer, Managing or General Agent
                                   (Secured Creditor)

                          Phelan, Hallinan, Diamond & Jones
                           400 Fellowship Road, Suite 100
                                 Mt. Laurel, NJ 08054
                         (Attorney for Wells Fargo Bank, NA)
